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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


 STEVEN TERRY,

                        Plaintiff,

        v.                                                Civil Action 2:24-cv-1200
                                                          Judge Algenon L. Marbley
                                                          Magistrate Judge Chelsey M. Vascura
 SHARON L. KENNEDY, et al.,

                        Defendants.

                                             ORDER

       Plaintiff, Steven Terry, has filed a Notice of Service of his first request for production of

documents. (ECF No. 27.) The Court has not ordered Plaintiff to file this document. Moreover,

the parties have not utilized the Notice in a court proceeding. The Court therefore STRIKES

Plaintiff’s filing and ORDERS him to cease filing discovery documents, or notices of their

service, until they are used in a proceeding or the Court orders otherwise. Cf. Fed. R. Civ. P.

5(d)(1) (“[D]isclosures under Rule 26(a)(1) or (2) and the following discovery requests and

responses must not be filed until they are used in the proceeding or the court orders filing:

depositions, interrogatories, requests for documents or tangible things or to permit entry onto

land, and requests for admission.”). The Court notes, however, that striking this document from

the docket “does not prevent it from being effective.” Valente v. Univ. of Dayton, No. 3:08-cv-

225, 2009 WL 2132631, at *1 (S.D. Ohio, July 13, 2009).

       IT IS SO ORDERED.


                                                      /s/ Chelsey M. Vascura
                                                      CHELSEY M. VASCURA
                                                      UNITED STATES MAGISTRATE JUDGE
